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   6

   7
                              UNITED STATES DISTRICT COURT
   8
                            SOUTHERN DISTRICT OF CALIFORNIA

   9
        UNITED AFRICAN-ASIAN                    Case No: '25CV471 JES KSC
  10    ABILITIES CLUB, ON BEHALF
  11
        OF ITSELF AND ITS                       COMPLAINT
        MEMBERS; JAMES LEE, An
  12    Individual                              DISCRIMINATORY
  13                                            PRACTICES
                            Plaintiffs,         [US Fair Housing Act of 1988 [42
  14
                                                U.S.C. §§ 3600 et seq, §3604(c),
  15          v.                                §3604(f)(1-3), et seq.; CA
                                                Government Code 12925, 12927,
  16
        CASA LA MESA, LLC; LA                   12955; CA Civil Code §§ 51, 52,
  17    CASITA PROPERTIES, LLC;                 54.3
  18
        AND DOES 1 THROUGH 10,
        Inclusive                               DEMAND FOR JURY TRIAL
  19

  20                        Defendants.
  21                                      INTRODUCTION
  22   1.    Plaintiffs make the following allegations in this civil rights action:
  23                              JURISDICTION AND VENUE
  24   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
  25   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
  26   apartment property consist of four (4) or more residential units), and 42 U.S.C. §
  27   12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
  28

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   1
       United States District Court for the Southern District of California pursuant to 28
   2
       U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
   3
       Judicial District.
   4
                                SUPPLEMENTAL JURISDICTION
   5
       3.      This United States District Court for the Southern District of California has
   6
       supplemental jurisdiction over the California state claims as alleged in this
   7
       Complaint pursuant to 28 U.S.C. § 1367(a).
   8
                     NAMED DEFENDANTS AND NAMED PLAINTIFFS
   9
       4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
  10
       entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
  11
       Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
  12
       Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
  13
       Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
  14
       to as the “named Plaintiffs” or “Plaintiffs”.
  15
       5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
  16
       good standing as a Nevada corporation. The named individual Plaintiff LEE is a
  17
       member of the Plaintiff Club organization.
  18
       6. Plaintiffs are informed, believe, and thereon allege that named Defendants
  19
       CASA LA MESA, LLC, and LA CASITA PROPERTIES, LLC, are the operators of
  20
       the apartment rental business known as Casa La Mesa Apartments located at 4395
  21

  22
       70th Street La Mesa, CA 91942. Plaintiffs are informed, believe, and thereon allege

  23
       that Defendants CASA LA MESA, LLC, and LA CASITA PROPERTIES, LLC, are

  24
       the owners, operators, and/or lessors of the real property located at 4395 70th Street

  25
       La Mesa, CA 91942 (hereinafter referred to as the “Property”).

  26
       7.    Defendants CASA LA MESA, LLC, and LA CASITA PROPERTIES, LLC,

  27
       are, and at all times mentioned herein were, a business or corporation or franchise,

  28

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   1
       organized and existing and/or doing business under the laws of the State of
   2
       California. Defendants Does 1 through 10, were at all times relevant herein
   3
       subsidiaries, employers, employees, and/or agents of the named Defendants.
   4
                                    CONCISE SET OF FACTS
   5
       8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
   6
       for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
   7
       Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
   8
       dates wherein he intended to go the Defendant’s Property to access Defendants’
   9
       rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
  10
       and communication barriers at Defendants’ Property. Plaintiff Lee determined that
  11
       the open and obvious physical barriers that exist at Defendants’ Property directly
  12
       related to his disabilities, and that it would be impossible or extremely difficult for
  13
       him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
  14
       Lee had knowledge of access barriers at the Property and determined that it would be
  15
       futile gesture for him to go to the Property on the date that he had intended. The
  16
       named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
  17
       and communication barriers that exist at Defendants’ Property and also Defendants’
  18
       website communication barriers. As used herein, website means any internet website
  19
       where Defendants control the content. Exhibit B states the websites controlled by
  20

  21
       Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

  22
       Defendants websites but experienced great difficulty due to Defendants’ failure to

  23
       provide accessible website features.

  24
       9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

  25
       access Defendants’ online rental services, but had great difficulty due to his

  26
       disabilities. The named Individual Plaintiff Lee also could not determine from

  27
       Defendants’ website content whether Defendants’ rental services at the property or
  28

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   1
       off the property, and common areas at the property were physically accessible to
   2
       him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
   3
       obtain information regarding the physical accessibility of Defendants’ rental services
   4
       at the property and off-site. In response to the named Individual Plaintiff’s request,
   5
       Plaintiff Club sent one of its members to Defendants’ property. The named
   6
       Individual Plaintiff personally reviewed all the information and photographs of
   7
       Defendants’ property. As a result, the named Individual Plaintiff has actual
   8
       knowledge of the overt and obvious physical and communication barriers to
   9
       Defendants rental service at Defendants’ Property. The named Individual Plaintiff
  10
       determined that the open and obvious physical barriers that exist at Defendants’
  11
       Property directly related to his disabilities, and that it would be impossible or
  12
       extremely difficult for him to physically access Defendants’ on-site rental services.
  13
       See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
  14
       that it would be futile gesture for him to go to the Property on the date that he had
  15
       intended. The named Individual Plaintiff was deterred by his actual knowledge of
  16
       the physical and communication barriers that exist at Defendants’ Property and
  17

  18
       website. The named Individual Plaintiff made a written request to Defendants’ for

  19
       an accommodation to have equal access to Defendants’ rental services and to

  20
       eliminate the communication and physical barriers to Defendants’ rental services,

  21
       both online and at the property. At the end of this action, the named Individual

  22
       Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

  23
       obtain rental information and verify that the communication and physical barriers to

  24
       Defendants’ rental services are removed.
  25
       10.   The named Plaintiff Club is an organization that advocates on the behalf of its

  26
       members with disabilities when their civil rights and liberties have been violated.

  27
       Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

  28

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   1
       Property in February, 2025. The named Plaintiffs investigated Defendants apartment
   2
       property and Defendants websites. Plaintiff Club member Sharon Riguer
   3
       investigated the Property on the Internet websites. Additional Plaintiff Club
   4
       members investigated Defendants websites and found that they did not provide equal
   5
       access. The results of the research from Club Member Sharon Riguer are contained
   6
       in the Exhibit B to this Complaint. Club members ascertained that Defendants’
   7
       rental services at Defendants Property were not physically accessible to Plaintiff Lee
   8
       by a Club member with a disability who went to Defendants’ apartment Property,
   9
       and said Club member attempted to access Defendants’ on-site rental services.
  10
       11.   Plaintiff Club diverted its time and resources from its normal purposes
  11
       because of Defendants’ service, policy, program and physical barriers to Defendants
  12
       rental services at Defendants’ websites and Property. Club personnel conducted
  13
       detailed Internet searches to determine if Defendants provide large print, deaf
  14
       interpreter, therapy animal, the required reasonable accommodation policy, and
  15
       required reasonable modification policy. Further, the Club retained contractors to
  16
       investigate said policies, to survey the property, to photograph the property, to
  17
       investigate when the Property was constructed, to investigate the Property ownership
  18
       and to have an access report prepared. Plaintiff Club also diverted staff to
  19
       investigate Defendants' Internet presence to determine compliance with the FHA and
  20
       ADA. Plaintiff Club also investigated Defendants' written rental materials such as
  21

  22
       brochures, rental applications and leases. Moreover, Plaintiff Club made an oral

  23
       investigation to ascertain Defendants' companion animal, deaf interpreter and

  24
       reasonable accommodation and reasonable modification policies. Plaintiff Club also

  25
       caused a physical access consultant to be retained to survey Defendants' facility.

  26
       Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

  27
       incorporated into an Access Report. The Access Report also details the known overt

  28

                        5
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   1
       and obvious physical access violations at the Property, but it is not intended as an
   2
       exhaustive list of existing violations. Due to these necessary activities to investigate,
   3
       Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
   4
       Club suffered injury and also suffered monetary damages due to the diversion of the
   5
       Club’s resources from its normal purposes.
   6
       12.   Plaintiffs allege that Defendants control, operate, and maintain website at
   7
       https://www.casalamesaapts.com/ where Defendants offer its rental services.
   8
       Additionally, Defendants provide rental services located at the Property.
   9
       13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
  10
       physical site rental services because the websites refer to Defendants’ rental services
  11
       that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
  12
       Plaintiffs allege that the websites are also places of public accommodation.
  13
       Defendants control the websites to the extent that Defendants can change the website
  14
       content to make modifications to comply with the FHA and ADA. Therefore,
  15
       Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
  16
       improve access for Plaintiffs and people with disabilities.
  17
       14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
  18
       TTY number or the text messaging system for Plaintiffs and other people that are
  19
       deaf or people with speech conditions. Plaintiff Club members have a speech
  20
       disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
  21

  22
       websites to eliminate non-readable text to allow the blind and people with low vision

  23
       to use the screen reader software to access the information on the website, yet they

  24
       also failed to use large print on their websites. See Exhibit B to this Complaint.

  25
       Plaintiffs assert that most popular screen reader programs are called Jobs Access

  26
       With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

  27
       discriminate against Plaintiff Club, specifically Club members who have low vision

  28

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   1
       disabilities. Each of the Club members above cannot use the websites controlled by
   2
       the Defendants. Modifications to Defendants’ websites will not fundamentally alter
   3
       the rental services provided and will also not cause an undue burden to Defendants,
   4
       because the cost is less than One Thousand Dollars ($1,000).
   5
       15.   On February 16, 2025, and on February 26, 2025, Plaintiff Club attempted to
   6
       make a request to the Defendants for reasonable accommodation at the property. On
   7
       February 23, 2025, the named individual Plaintiff LEE and Plaintiff Club emailed to
   8
       the Defendants a written request for a reasonable accommodation. In February,
   9
       2025, Plaintiff LEE and Plaintiff Club, mailed a written request for a reasonable
  10
       accommodation. Defendants failed to respond to both Plaintiffs requests for
  11
       reasonable accommodation as of the date of the filing of this Civil Complaint.
  12
       16.   Plaintiffs are not able to access Defendants rental services due to existing
  13
       overt and obvious communication and physical barriers to access Defendants’ rental
  14
       services both at its online website and at the property. Due to the overt and obvious
  15
       physical barriers as alleged herein below, which are required to be removed,
  16
       Plaintiffs requested that Defendants accommodate them to provide access to
  17

  18
       Defendants’ rental services.
       17.   The named Plaintiffs allege that an accommodation is also obvious when a
  19
       whole group of the protected persons requires it. For example, when the public
  20
       without disabilities are required to get up to a second level, the public would be very
  21

  22
       disturbed if they were required to request steps to go up to second level. When the

  23
       accommodation is specific to a particular person with a disability, then that person

  24
       may be required to make a request, because the accommodation is not obvious.

  25
       18.   Plaintiffs allege that they are not required to make a request for reasonable

  26
       accommodation and for auxiliary aids when the barriers to communication are overt

  27
       and obvious. However, in the present case, Plaintiffs did make such requests for

  28

                        7
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   1
       accommodation to eliminate overt and obvious barriers to its rental services
   2
       communications. Plaintiffs allege that providing effective contact information for
   3
       Defendants’ rental services on the internet is an obvious accommodation. The
   4
       general public does not need to request a contact number from the Defendant
   5
       apartment owner or operator when they desire to rent a place. Defendants provide the
   6
       contact number on their website. Therefore, Plaintiffs allege that Defendants are
   7
       required to provide the obvious accommodation of effective communication for
   8
       people that are deaf or with speech impediment on their website without a request.
   9
       Defendants must make their rental services accessible without the need for a prior
  10
       request. Furthermore, Defendants have a duty to remove architectural barriers and
  11
       communication barriers to their rental services without request.
  12
       19. Plaintiffs allege that there is disparate treatment on the internet related to the
  13
       amenities being offered to people without disabilities and people with disabilities.
  14
       All the below facts and the facts stated elsewhere herein have a disparate impact on
  15
       the disability community. The named Plaintiffs experienced and have knowledge of
  16
       the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
  17
       operates an apartment property. The property is located at 4395 70th St, La Mesa,
  18
       CA 91942. The property was built in 1973 and has 2 stories with 105 units. The rent
  19
       is approximately: $2,070 - $3,295. The internet provides a wealth of information
  20
       regarding the property. The internet advertises that the property has amenities that
  21

  22
       include: Unique Features, Courtyard View, Garbage Disposal, Organized

  23
       Community Activities, Vertical blinds, Laundry Care Center, Divided sink, Central

  24
       A/C, Community gas grill, Covered parking – assigned, Medium patio/balcony,

  25
       Upgraded light fixtures, On-site and On-call Maintenance, Refrigerator - frost free,

  26
       Storage closet on patio, Gas Grill & BBQ Area, Kitchen window, Bookshelves,

  27
       Ceramic tile floor, Dry Sauna, Sgl closet guest bedroom, Tile entries, Train Station

  28

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   1
       within 1 Mile; Community Amenities: Controlled Access, Clubhouse, Sauna, Spa,
   2
       Gated, Grill; Apartment Features: Ceiling Fans, Dishwasher, Stainless Steel
   3
       Appliances, Pantry, Kitchen, Refrigerator, Tile Floors, Linen Closet, Patio; Fees and
   4
       Policies: Pets: Dogs Allowed: Monthly pet rent $50, Pet deposit $500, Weight limit
   5
       40 lb., Pet Limit 2; Cats Allowed: Monthly pet rent $50,, Pet deposit $500, Weight
   6
       limit --, Pet Limit 2; Parking: Covered; Lease Options: 10 months, 11 months, 12
   7
       months, 13 months. The property advertises on casalamesaapts.com, zillow.com,
   8
       redfin.com, apartmentguide.com, rent.com, yelp.com, apartmentfinder.com. It is very
   9
       important to know that on casalamesaapts.com, zillow.com, redfin.com,
  10
       apartmentguide.com, rent.com, apartmentfinder.com there is the equal housing
  11
       opportunity logo. The plaintiff alleges that there is disparate treatment on the internet
  12
       related to the amenities being offered to people without disabilities and people with
  13
       disabilities. For example, the tow signage was not installed. The accessible parking
  14
       space had an access aisle, which was not van accessible. The aisle did not have the
  15
       “no parking” included in the access aisle. The office had a high threshold. There was
  16
       no International Symbol of Accessibility signage. The Internet does not state the
  17
       accessible amenities at all. Also, the statement the “equal housing opportunity
  18
       statement” is misleading. In fact, the property is not completely accessible. All the
  19
       above facts and the facts stated herein have a disparate impact on the disability
  20
       community.
  21

  22
       20.   On Defendants’ websites, they allow the public without deafness and without

  23
       speech impairments to participate by providing them with a telephone number to

  24
       call. However, Plaintiff Club members that are deaf and or with speech impairments
  25   are denied equal access to participate because the Defendants do not have any
  26   effective communication.
  27   21.   Defendants provide websites for people without disabilities to benefit from the
  28

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  1
       rental services without going to the apartments to learn about the properties.
  2
       However, for people with disabilities that require the access to the facility, the
  3
       Defendants do not provide any information on the websites regarding if the rental
  4
       services located both on or off the property are accessible. Moreover, the Defendants
  5
       provide the telephone number for the public to call to inquire about the rental
  6
       services without providing any effective alternative communications for Plaintiffs
  7
       and other people that are deaf or have speech impairments.
  8
       22.   For people without disabilities, the Defendants provide all of the information
  9
       on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
  10
       the Property to determine if it is accessible, then require them to request the effective
  11
       communication, and then thereafter to request a reasonable accommodation to the
  12
       overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
  13
       and other people with disabilities to suffer a separate benefit.
  14
       23.   Additionally, the named Plaintiffs are alleging photograph discrimination
  15
       related to the physical access of each of the apartments within Exhibit B to this
  16
       complaint. The purpose of Defendants’ internet photographs is to entice perspective
  17

  18
       renters to apply online or to contact the Defendants to rent a place. Defendants’

  19
       internet photographs only entice people without mobility disabilities. Defendants’

  20
       internet photographs exclude any photographs of any accessible features that would

  21
       aid the Plaintiffs. For example, there is no photograph of accessible parking. There

  22
       are no photographs of the accessible route to the rental services both on or off the

  23
       property. There are photographs of the accessible route to the rental services. There

  24
       are no photographs related to the access to get into and use the rental services. There
  25   are no photographs related to the accessible route of the common area. There are no
  26   photographs of the accessible units. In fact, all the photographs lead a person with a
  27   mobility disability to believe that the apartments are not accessible, or that they must
  28

                        10
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  1
       have someone go to the properties to make sure it is accessible. However, people
  2
       without disabilities are not required to go to the Property to see if it is accessible.
  3
       24.   Defendants websites and Defendants’ rental services are not integrated for
  4
       people with disabilities as required. Plaintiffs are required to request an
  5
       accommodation. People without disabilities can access the websites and the rental
  6
       services without any problem, but Plaintiffs and other people with disabilities are
  7
       required to request for separate rental services. People with mobility conditions are
  8
       not integrated when using the websites because they must go to the apartments to
  9
       determine if they are accessible, but people without disabilities need only access
  10
       Defendants’ websites to determine they can use them. People that are blind and with
  11
       low vision disabilities must request help to read the website information because the
  12
       printed information is too small, but people without disabilities can access the
  13
       websites without asking for help. Plaintiffs and other people with deafness or people
  14
       with speech condition must ask for help calling the number on the websites, because
  15
       Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
  16
       texting system. Defendants discriminated against the Plaintiffs.
  17
       25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
  18
       twice in February, 2025, to access the rental office. The Named Individual Plaintiff
  19
       has actual knowledge of Defendants’ overt and obvious physical barriers, that relate
  20
       to this Plaintiff’s disabilities, to Defendants’ Property on-site rental office that this
  21
       Named Individual Plaintiff intended to visit twice in February, 2025, but this
  22
       Plaintiff was deterred from accessing Defendant’s rental office located on the
  23
       Property. Defendants provide rental information, rental applications, and other rental
  24
       services on-site at the Property. Defendants’ agents confirmed to the Plaintiffs that
  25
       rental information, rental applications, and other rental services were available on-
  26
       site at the Property. Defendants’ rental office at the Property is not accessible.
  27

  28

                        11
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  1
       Defendants’ path of travel from the sidewalk to the rental office is not accessible
  2
       since it has excessive slopes without handrails, uneven surfaces, and step changes in
  3
       level along the path. There are numerous step changes in level that must be
  4
       traversed to access the main entrance to the complex. The main entrance gated door
  5
       leading into the complex fails to have the required smooth and uninterrupted surface
  6
       at the bottom of the door. The door handle on the main gated entrance door is
  7
       mounted too high. There are also excessive and steep slopes without handrails that
  8
       must be traversed to gain access to the common areas of the complex and rental
  9
       office. There are excessive and steep slopes without handrails and uneven surfaces
  10
       that must be traversed throughout the complex. Defendants do not provide the
  11
       required directional signage as to the designated path of travel from the sidewalk to
  12
       Defendant’s rental office. There is a cross slope that must be traversed to access
  13
       Defendant’s rental office entrance door. Defendant’s rental office entrance door fails
  14
       to have the required strike edge clearance and smooth and level landing of sufficient
  15
       dimensions. Defendant’s rental office entrance is not accessible due to a significant
  16
       step change in level at the rental office door threshold that is not beveled or ramped.
  17
       Defendant’s rental office entrance door fails to have the required smooth and
  18
       uninterrupted surface at the bottom of the door. Additionally, the document drop
  19
       box serving Defendant’s rental office is inaccessible. The Named Individual
  20
       Plaintiff has mobility disabilities and these step changes in level, excessive slopes,
  21
       and the other stated issues cause the path of travel and the rental office entry to be
  22
       not accessible. Defendants failed to provide any directional signage indicating an
  23
       alternate accessible path of travel to the rental office. Defendants failed to provide
  24
       the required fully compliant van accessible disabled parking for the rental office.
  25
       Defendants failed to provide a dimensionally compliant van accessible disabled
  26
       parking space and disabled parking access aisle, the required disabled parking
  27
       signage, including tow away signage, fine signage, ground markings, and failed to
  28

                        12
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  1
       locate said parking on a level surface and nearest the rental office. Defendants also
  2
       failed to provide compliant tow away signage. The Named Individual Plaintiff
  3
       requires the use of a compliant van accessible disabled parking space to safely exit
  4
       and re-enter the vehicle. Defendants’ failure to provide the required compliant
  5
       disabled parking, disabled parking access aisle, disabled parking disability signage,
  6
       access aisle, and disability ground markings, such that the Named Individual Plaintiff
  7
       is not able to safely park at Defendants’ establishment since the individual Plaintiff
  8
       may be precluded from exiting or re-entering the vehicle if the disabled parking and
  9
       disabled parking signage is not present and others park improperly. Additionally,
  10
       Defendants failed to provide the required accessible path of travel from the parking
  11
       area to the rental office since the existing path of travel has step changes in level and
  12
       slopes that exceed the maximum permitted. Additionally, Defendants overt and
  13
       obvious communication barriers were also present at the rental office twice in
  14
       February, 2025. Defendants failed to provide any method of text communication
  15
       with their rental office and failed to publish any information as to how to initiate text
  16
       communication contact. The Named Individual Plaintiff had actual knowledge of
  17
       these barriers at Defendants’ Property that Plaintiff intended to visit, and the Named
  18
       Individual Plaintiff was deterred from accessing Defendants’ rental office at the
  19
       Property again in February, 2025. See Property photos in Exhibit B and Exhibit C.
  20
       Within two weeks before the filing of this complaint, a UAAAC member went again
  21
       to the property to confirm that the prior information was correct and that the
  22
       Defendant did not remove the access violations.
  23
       26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
  24
       Defendants’ rental services at Defendants’ property and Defendants’ websites are
  25
       fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
  26
       other people with disabilities. Plaintiff Club, its Club members, and the named
  27
       Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
  28

                        13
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  1
       conditions, and they are currently deterred from attempting further access until the
  2
       barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
  3
       return to Defendants’ Property and Defendants websites at the end of this action to
  4
       obtain rental services, and to verify that the communication and architectural barriers
  5
       are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
  6
       Club has numerous members residing near Defendants Property. Plaintiff Club’s
  7
       members have actual knowledge of the discriminatory conditions as alleged herein
  8
       when the Plaintiff Club investigated the Property and the rental services and
  9
       determined that the Club members would not be able to use the rental services due to
  10
       the discriminatory conditions. Therefore, Plaintiff Club members were and are
  11
       deterred from visiting the properties. Plaintiff Members were not required to
  12
       actually visit the properties. See Civil Rights Education & Enforcement Center v.
  13
       Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
  14
       Plaintiff Cub did visit and attempt to access Defendants’ rental services at
  15
       Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans
  16
       to visit at the conclusion of this case to obtain rental information and to verify the
  17

  18
       Defendants ceased its discriminatory conduct by removing communication and

  19
       physical barriers to access to the rental services.

  20

  21
        DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –

  22
       FAIR HOUSING ACT CLAIMS
       27.   FHA Standing:
  23
             Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  24
       complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
  25
       3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
  26
       named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
  27

  28

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  1
       named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
  2
       other relief as hereinafter stated. The Federal Fair Housing Act applies to
  3
       Defendants’ apartment complex since it has more than 4 residential units. FHA
  4
       standing is substantially broader than standing under the ADA due to the critically
  5
       important need of adequate availability of housing for the disabled. A potential
  6
       plaintiff is not even required to have an interest in renting a particular property or
  7
       dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
  8
       F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
  9
       claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
  10
       whether or not the target of the discrimination, can sue to recover for his or her own
  11
       injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
  12
       34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
  13
       actually been denied to persons protected under the Act.” San Pedro Hotel v City of
  14
       Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
  15
       Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
  16
       and that the named Plaintiffs suffered monetary and other damages as a result. The
  17
       named Plaintiffs seek injunctive relief as well as damages, both of which are
  18
       available under 42 USC § 3613(c). Assuming arguendo in the present case, that
  19
       prospective injunctive relief was not available to Plaintiffs due to mootness or
  20
       otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
  21
       damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
  22
       Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
  23
       Thousand (3000) miles away and her injunctive claims became moot. However,
  24
       Plaintiff’s claim for damages survived and was not affected]. In the present case,
  25
       while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
  26
       above Ninth Circuit Harris court authority makes it clear that those prudential
  27
       standing requirements for injunctive relief are not applicable to Plaintiffs FHA
  28

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  1
       damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
  2
       prospective injunctive relief is not available. The present Plaintiff Club has
  3
       organization standing separately on its own under the FHA. Additionally, under the
  4
       FHA, Plaintiff Club has associational standing to assert its Club member claims
  5
       since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
  6
       Club and the named Individual Plaintiff have standing with respect to the following
  7
       FHA claims.
  8

  9
       CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
  10
       Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
  11
       Train Staff, And Failure To Make The Policy Known To The Plaintiffs
  12
       28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  13
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  14
       this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
  15
       rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
  16
       because of a handicap of (A) that buyer or renter; (B) a person residing in or
  17
       intending to reside in that dwelling after it is so sold, rented, or made available; or…
  18
       §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
  19
       v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
  20
       scheme permits disparate impact claims, and those type of claims do not require
  21
       intent]. due to Defendants’ communication and architectural barriers, Defendants
  22
       discriminated against Plaintiffs by failing to have a policy, practice, or method for
  23
       Plaintiffs to make a reasonable accommodation request for equal access to their
  24
       rental services on their website or at their Property. Defendants have an affirmative
  25
       duty to have a policy, process to receive such accommodation requests and to
  26
       respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
  27

  28

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  1
       2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
  2
       discrimination.
  3

  4
       CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
  5
       Housing Act And California Fair Employment And Housing Act
  6
       29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  7
       complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
  8
       section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
  9
       engage in a good-faith interactive process to determine and to implement effective
  10
       reasonable accommodations so that Plaintiffs could gain equal access Defendants’
  11
       rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
  12
       services both on or off the property and apartments.
  13
       CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
  14
       30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  15
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  16
       this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
  17
       discriminate against any person in the terms, conditions, or privileges of sale or
  18
       rental of a dwelling, or in the provision of services or facilities in connection with
  19
       such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
  20
       above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
  21
       prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
  22
       named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
  23
       services located on the Property or off-site are “services” in connection with the
  24
       rental of a dwelling and the on-site or off-site rental services provided fall within the
  25
       FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
  26
       failure to remove communication and architectural barriers to permit access to
  27
       Defendant’s on-site rental services contained is a separate, independent, actionable
  28

                         17
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  1
       violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
  2
       predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
  3
       physical barriers to access its rental services provided at the property. See ¶¶25 -26.
  4
       The 9th Circuit Smith court stated that the mere observation of overt architectural
  5
       barriers is actionable. Smith at 1104 [“To read an additional standing requirement
  6
       into the statute beyond mere observation, however, ignores that many overtly
  7
       discriminatory conditions, for example, lack of a ramped entryway, prohibit a
  8
       disabled individual from forming the requisite intent or actual interest in renting or
  9
       buying for the very reason that architectural barriers prevent them from viewing the
  10
       whole property in the first instance” (emphasis in original)]. The Smith court found
  11
       Defendants liable under this FHA subsection even though that case did not involve
  12
       ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
  13
       observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
  14
       Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
  15
       had actual knowledge of Defendants’ communication and architectural barriers and
  16
       Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
  17
       services located thereon. Defendants also discriminated against Plaintiffs by failing
  18
       to modify its practices and policies to provide access via other methods of access to
  19
       its rental services located on or off the property site. Defendant’s failure to remove
  20
       the architectural and communication barriers to access its facilities and the rental
  21
       services located thereon, or failure to provide an accommodation to provide methods
  22
       of alternate access to their rental services, constitutes the prohibited discrimination,
  23
       separately and independently. Additionally, Defendant’s conduct is also prohibited
  24
       under ADA Title III and constitutes a second, separate, independent source of
  25
       discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
  26
       discriminatory conduct involves Defendants’ rental facilities and its rental services
  27
       located therein, Plaintiffs assert any discriminatory conduct found in violation of
  28

                        18
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  1
       ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
  2
       CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
  3
       31.   Plaintiffs do not make any claim against Defendants for a failure to “design
  4
       and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
  5
       above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
  6
       Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
  7
       that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
  8
       to make reasonable accommodations in rules, policies, practices, or services, when
  9
       such accommodations may be necessary to afford such person equal opportunity to
  10
       use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
  11
       Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
  12
       repeated written and other requests for an accommodation to have equal access to its
  13
       rental services.
  14
       CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
  15
       32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
  16
       elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
  17
       the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
  18
       respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
  19
       Defendants discriminated against them when Defendants made, printed, or
  20

  21
       published, or caused to be made printed, or published notices, statements, or

  22
       advertisements (“NSA”) that suggest to an ordinary reader a preference to attract

  23
       tenants without disabilities. Defendants' Internet advertising regarding its rental

  24
       services has an unlawful disparate impact on Plaintiffs.

  25
       SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
  26
       33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
  27

  28

                          19
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  1
       Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
  2
       elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
  3
       reasonable accommodations in rules, policies, practices, or services in violation of
  4
       CA Government Code sections 12927 and 12955.2, when these accommodations
  5
       may be necessary to afford a disabled person equal opportunity to use and enjoy
  6
       Defendants’ rental services. As stated in detail above, Defendants refused to make
  7
       reasonable accommodations with the instant Plaintiffs and discriminated against each
  8
       of them on the basis of disability.
  9

  10
       THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
  11
       The Americans With Disabilities Act Of 1990
  12
       34.   ADA Standing:
  13
             ADA Title III does cover public and common use areas at housing
  14
       developments when these public areas are, by their nature, open to the general
  15
       public. An office providing rental services is open to the general public. (See U.S.
  16
       Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
  17
       Illustration 3, office on or off the site covered). The parking and paths of travel to
  18
       the office on or off the site are also covered. See Section III–1.2000, ADA Title III
  19
       Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
  20
       3: A private residential apartment complex contains a office on or off the site. The
  21
       office on or off the site is a place of public accommodation”). See Kalani v Castle
  22
       Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
  23
       Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
  24
       (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
  25
       present case, the named Plaintiffs have also sufficiently alleged that Defendants
  26
       provide rental services at the property. Following prior sister Circuit Courts of
  27
       Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
  28

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  1
       can be only a “tester” and have standing. See Civil Rights Education & Enforcement
  2
       Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
  3
       Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
  4
       motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
  5
       does not require a Plaintiff to have a personal encounter with the barrier to equal
  6
       access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
  7
       Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
  8
       and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
  9
       1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
  10
       Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
  11
       Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
  12
       present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
  13
       that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
  14
       and regulations as detailed further in the ADA claims stated below. As a result, the
  15
       named Plaintiffs have each suffered injury and each seek only injunctive and
  16
       declaratory relief pursuant to their ADA Claims.
  17
       CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
  18
       35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
  19
       may be necessary to ensure that no individual with a disability is excluded, denied
  20
       services, segregated or otherwise treated differently than other individuals because of
  21
       the absence of auxiliary aids and services, unless the entity can demonstrate that
  22
       taking such steps would fundamentally alter the nature of the good, service, facility,
  23
       privilege, advantage, or accommodation being offered or would result in an undue
  24
       burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  25
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  26

  27
       violated said provision. Plaintiffs set forth the factual basis for this claim most

  28

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  1
       specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place
  2
       of public accommodation, not services in a place of public accommodation. To limit
  3
       the ADA to discrimination in the provision of services occurring on the premises of a
  4
       public accommodation would contradict the plain language of the statute.” Nat’l
  5
       Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
  6
       (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
  7
       1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
  8
       provides, it cannot discriminate on the basis of disability in providing enjoyment of
  9
       those goods and services”]). An ADA plaintiff may challenge a business’ online
  10

  11
       offerings as well. So long as there is a “nexus”—that is, “some connection between

  12
       the good or service complained of and an actual physical place”—a plaintiff may

  13
       challenge the digital offerings of an otherwise physical business. See Gorecki v.

  14
       Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:

  15   CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
  16   communication to the instant Plaintiffs and to people with disabilities. In the
  17   present case, Plaintiffs experienced and have knowledge that Defendants failed to
  18   have a required procedure to provide effective communication. Plaintiffs allege that
  19   Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
  20   did not provide any auxiliary aid and the Defendants did not provide any reasonable
  21   accommodation to the overt and obvious communication barriers, and failed to
  22   respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
  23   Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
  24   ADA law allows the Defendants to decide what auxiliary aid and reasonable
  25   accommodation will be provided. In this case, however, Defendants failed to
  26   provide any reasonable accommodation for the overt and obvious communication
  27   barriers to equal access to their rental services, failed to provide any auxiliary aid,
  28

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  1
       and failed to provide any effective communication. Plaintiffs allege that Defendants’
  2
       websites provide a contact number for the general public, but Defendants failed to
  3
       provide Plaintiffs with the required effective communication using texting or other
  4
       alternate means of communication for Plaintiffs and other people with a deaf
  5
       condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
  6
       Club’s members that have hearing disabilities and Club’s members with speech
  7
       disabilities. Defendants are required to provide, on Defendants’ websites, to provide
  8
       a method to effectively communicate with Plaintiff Club members that have hearing
  9
       and speech disabilities, and other people that are deaf or have speech impairments.
  10

  11
       CLAIM II: Denial of Participation

  12
       36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to

  13
       subject an individual or class of individuals on the basis of a disability or disabilities

  14
       of such individual or class, directly, or through contractual, licensing, or other

  15   arrangements, to a denial of the opportunity of the individual or class to participate in
  16   or benefit from the goods, services, facilities, privileges, advantages, or
  17   accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
  18   elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
  19   Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
  20   most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
  21   violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
  22   CLAIM III: Participation in Unequal Benefit
  23   37.   Defendants provide unequal benefit for people with disabilities in violation of
  24   42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
  25   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  26   believe, and thereon allege that Defendants discriminated against Plaintiffs in
  27   violation of said provision. Plaintiffs set forth the factual basis for this claim most
  28

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  1
       specifically at ¶¶ 20-24 above.
  2
       CLAIM IV: Separate Benefit
  3
       38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
  4
       United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
  5
       plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  6
       believe, and thereon allege that Defendants discriminated against Plaintiffs in
  7
       violation of said provision. Plaintiffs set forth the factual basis for this claim most
  8
       specifically at ¶¶ 20-24 above.
  9

  10

  11
       CLAIM V: Integrated Settings

  12
       39.   Defendants’ rental services are not integrated for Plaintiffs and people with

  13
       disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §

  14
       12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

  15   Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  16   against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
  17   for this claim most specifically at ¶¶ 20-24 above.
  18
       CLAIM VI: Failure To Modify Practices, Policies And Procedures
  19   40.   Defendants failed and refused to provide a reasonable alternative by
  20   modifying its practices, policies, and procedures in that they failed to have a scheme,
  21   plan, or design to accommodate Plaintiff Club, its Club members, the individual
  22   named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
  23   services, at its websites and at the Property, in violation of 42 United States Code
  24   12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
  25   above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  26   allege that Defendants discriminated against Plaintiffs in violation of said provision.
  27   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
  28

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  1
       CLAIM VII: Failure To Remove Architectural And Communication Barriers
  2
       41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
  3
       communication barriers as required in violation of 42 United States Code
  4
       12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
  5
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  6
       allege that Defendants discriminated against the named Individual Plaintiff in
  7
       violation of said provision. Plaintiffs set forth the factual basis for this claim most
  8
       specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
  9
       reviewed all the information and photographs of Defendants’ property. As a result,
  10
       the named Individual Plaintiff has actual knowledge of the physical and
  11
       communication barriers that exist at Defendants’ Property. The named Individual
  12
       Plaintiff determined that the physical barriers that exist at Defendants’ property,
  13
       directly relate to his disabilities, and make it impossible or extremely difficult for
  14
       him to physically access Defendants’ rental services at the Property. The named
  15
       Individual Plaintiff was deterred by his actual knowledge of the physical and
  16
       communication barriers that exist at Defendants’ Property which include but are not
  17
       limited to the barriers to facilities and services for disabled parking, exterior path of
  18
       travel to the rental services at the property, entrance and interior, since said
  19
       Defendants’ facilities and rental services were not accessible because they failed to
  20
       comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
  21
       Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
  22
       Plaintiff had actual knowledge of these barriers and determined that it would be
  23
       futile gesture for him to go to the Property on the date that he had originally
  24
       intended. The named Individual Plaintiff is currently deterred from returning due to
  25
       his knowledge of the barriers. At the end of this action, the named Individual
  26
       Plaintiff intends to return to Defendants’ property or off the site location to obtain
  27
       rental information and verify that the communication and physical barriers to
  28

                        25
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  1
       Defendants’ rental services are removed. Defendants failure to remove the barriers
  2
       to equal access constitutes discrimination against the named Individual Plaintiff.
  3
       CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
  4
       42.   Defendants are required to make alterations to their facilities in such a manner
  5
       that, to the maximum extent feasible, the altered portions of the facility are readily
  6
       accessible to and usable by individuals with disabilities, including individuals who
  7
       use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
  8
       26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
  9
       and thereon allege that Defendants violated this provision. Plaintiffs allege that
  10
       Defendants altered their facility in a manner that affects or could affect the usability
  11
       of the facility or a part of the facility after January 26, 1992. In performing the
  12
       alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
  13
       manner that, to the maximum extent feasible, the altered portions of the facility are
  14
       readily accessible to and usable by individuals with disabilities, including individuals
  15
       who use devices, in violation of 42 U.S.C. §12183(a)(2).
  16
       CLAIM IX: Administrative Methods
  17

  18
       43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract

  19
       with website providers without making sure that the websites will be accessible to

  20
       people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42

  21
       U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this

  22
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  23   discriminated against the named Individual Plaintiff in violation of said provision.
  24   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
  25   CLAIM X: Screen Out
  26   44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
  27   out Plaintiffs and other people with disabilities in violation of 42 United States Code
  28

                        26
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  1
       12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
  2
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  3
       allege that Defendants discriminated against the named Plaintiffs in violation of said
  4
       provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
  5
       - 26 above. Defendants screened out the named Plaintiffs from its rental services and
  6
       processes, because Defendants failed to remove architectural and communication
  7
       barriers to its website and property, failed to provide required effective alternate
  8
       communication methods, and failed to provide required auxiliary aids.
  9

  10
       CLAIM XI: Denial Of Full And Equal Access
  11
       45.   Defendants are required to provide full and equal access to Defendants' rental
  12
       services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
  13
       United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
  14
       8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
  15
       thereon allege that Defendants discriminated against the named Plaintiffs in violation
  16
       of said provision. Plaintiffs set forth the factual basis for this claim most specifically
  17
       at ¶¶ 8 - 26 above.
  18

  19
       CLAIM XII: Failure To Investigate And Maintain Accessible Features
  20

  21
       46.    Defendants made repairs and administrative changes which violated ADA and

  22
       its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible

  23   features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  24   Defendants failed to provide and then maintain any accessible features in its parking,
  25   path of travel, on or off the property site for rental services and website rental
  26   services. Plaintiffs are informed, believe, and thereon allege that Defendants
  27   discriminated against the named Plaintiffs in violation of this provision.
  28

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  1
       CLAIM XIII: Association
  2

  3
       47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

  4
       Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  5    against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
  6          DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
  7           FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
  8    PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
  9                                    ACCESSIBILITY LAWS
  10   CLAIM I: Denial Of Full And Equal Access
  11
       48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
  12
       named Individual Plaintiff was denied full and equal access to Defendants' goods.
  13
       services, facilities, privileges, advantages, or accommodations within a public
  14
       accommodation owned, leased, and/or operated by Defendants as required by Civil
  15
       Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
  16
       18-28 above.
  17
       CLAIM II: Failure To Modify Practices, Policies And Procedures
  18
       49.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  19
       the named Individual Plaintiff was denied full and equal access to Defendants' goods.
  20
       Defendants failed and refused to provide a reasonable alternative by modifying its
  21
       practices, policies, and procedures in that they failed to have a scheme, plan, or
  22
       design to assist Plaintiff Members and/or others similarly situated in entering and
  23
       utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
  24
       this claim is at 18-28 above.
  25
       CLAIM III: Violation Of The Unruh Act
  26
       50.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  27
       the individual, the named Individual Plaintiff was denied full and equal access to
  28

                        28
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  1
       Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
  2
       failing to comply with Civil Code §51(f). Defendants' facility violated state
  3
       disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
  4
       Building Code by failing to provide equal access to Defendants’ facilities.
  5
       Defendants did and continue to discriminate against Plaintiff Members in violation
  6
       of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
  7
                  Treble Damages Pursuant To California Accessibility Laws
  8
       51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  9
       only the named Individual Plaintiff prays for an award of treble damages against
  10
       Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
  11
       54.3(a). Defendants, each of them respectively, at times prior to and including the
  12
       day the named Individual Plaintiff attempted patronized Defendants’ facilities and
  13
       rental services, and continuing to the present time, knew that persons with physical
  14
       disabilities were denied their rights of equal access. Despite such knowledge,
  15
       Defendants, and each of them, failed and refused to take steps to comply with the
  16
       applicable access statutes; and despite knowledge of the resulting problems and
  17
       denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
  18
       and each of them, have failed and refused to take action to grant full and equal access
  19
       to the individual Plaintiff in the respects complained of hereinabove. Defendants,
  20
       and each of them, have carried out a course of conduct of refusing to respond to, or
  21
       correct complaints about, denial of disabled access and have refused to comply with
  22
       their legal obligations to make Defendants’ public accommodation facilities and
  23
       rental services accessible pursuant to the ADAAG and Title 24 of the California
  24
       Code of Regulations (also known as the California Building Code). Such actions
  25
       and continuing course of conduct by Defendants in conscious disregard of the rights
  26
       and/or safety of the named Individual Plaintiff justify an award of treble damages
  27
       pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
  28

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  1
                           DEMAND FOR JUDGMENT FOR RELIEF:
  2
       A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
  3
       42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
  4
       pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
  5
       this court to enjoin Defendants to cease their discriminatory practices in housing
  6
       rental services, rental housing management services, and for Defendants to
  7
       implement written policies and methods to respond to reasonable accommodation
  8
       and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
  9
       request this Court enjoin Defendants to remove all barriers to equal access to the
  10
       disabled Plaintiffs in, at, or on their facilities, including but not limited to
  11
       architectural and communicative barriers in the provision of Defendants’ rental
  12
       services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
  13
       Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
  14
       not seek any relief at all pursuant to Cal. Civil Code §55.
  15
       B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
  16
       However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
  17
       damages on behalf of its members;
  18
       C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
  19
       to Cal. Civil Code §§ 52 or 54.3;
  20
       D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
  21
       damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
  22
       51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
  23
       E.     In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
  24
       C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
  25
       damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
  26
       § 54.1;
  27
       F.     All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
  28

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  1
       U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
  2
       G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
  3
       Civil Code §§ 52(a) or 54.3(a);
  4
       H.    The named Plaintiffs are seeking perspective injunctive relief to require the
  5
       Defendants to provide obvious reasonable accommodations, to provide the required
  6
       auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
  7
       Defendants in the provision of Defendants’ rental services. Without perspective
  8
       relief the Plaintiffs will suffer future harm.
  9
       I.    All named Plaintiffs seek a Jury Trial and;
  10
       J.    For such other further relief as the court deems proper.
  11

  12   Respectfully submitted:
  13
                                                        LIGHTNING LAW, APC
  14
       Dated: February 28, 2025
  15
                                                By:     /s/David C. Wakefield
  16                                                    DAVID C. WAKEFIELD, ESQ.
  17
                                                        Attorney for Plaintiffs

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